
Motion to amend remittitur granted. Return of remittitur requested and when returned it will be amended by adding thereto the following: Upon the appeal herein there was presented and necessarily passed upon a question under the Constitution of the United States, viz.: Appellant Lanza contended that respondents’ threatened use and divulgence of the recording of Lanza’s conversation with his-attorney, which use and divulgence are sought to be enjoined in this action, would deprive him of due process -under the Fourteenth Amendment. The Court of Appeals held that the action said to be threatened by respondents, a lawfully constituted legislative investigating committee, would not in this case deprive appellant Lanza of his constitutional right to due process. [See 3 N Y 2d 92.]
